               Case 4:25-cv-01790                  Document 5       Filed on 04/21/25 in TXSD              Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                  SOUTHERN    DISTRICT
                                                   _________ District       OF TEXAS
                                                                      of __________
                                                        HOUSTON DIVISION
                                                                    )
                                                                    )
                                                                    )
NRG ENERGY, INC.                                                    )
                            Plaintiff(s)                            )
                                                                    )                            4:25-cv-1790
                                v.                                           Civil Action No.
                                                                    )
                                                                    )
                                                                    )
NEXTNRG HOLDING CORP., EZFILL                                       )
HOLDINGS, INC., NEXT CHARGING LLC,                                  )
and NEXT NRG, LLC                                                   )
                           Defendant(s)
                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                   NEXTNRG HOLDING CORP.
                   by and through its Registered Agent, Corporate Creations Network Inc.
                   801 US Highway 1
                   North Palm Beach, FL 33408

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Christopher M. Weimer
                                           Pirkey Barber PLLC
                                           1801 East 6th Street, Suite 300
                                           Austin, TX 78702

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                   Nathan Ochsner, Clerk of Court


 Date:April 21, 2025
Date:
                                                                                          Signature
                                                                                     s/ Garrett Coleof Clerk or Deputy Clerk
                                                                                     Signature of Clerk or Deputy Clerk
                Case 4:25-cv-01790                  Document 5        Filed on 04/21/25 in TXSD                  Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:25-cv-1790

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
               Case 4:25-cv-01790                  Document 5       Filed on 04/21/25 in TXSD             Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                  SOUTHERN    DISTRICT
                                                   _________ District       OF TEXAS
                                                                      of __________
                                                        HOUSTON DIVISION
                                                                    )
                                                                    )
                                                                    )
NRG ENERGY, INC.                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No.    4:25-cv-1790
                                                                    )
                                                                    )
                                                                    )
NEXTNRG HOLDING CORP., EZFILL                                       )
HOLDINGS, INC., NEXT CHARGING LLC,                                  )
and NEXT NRG, LLC                                                   )
                           Defendant(s)
                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

            EZFILL HOLDINGS, INC.
            by and through its Registered Agent, Yehuda Levy
            67 NW 183rd Street
            Miami, FL 33169

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Christopher M. Weimer
                                           Pirkey Barber PLLC
                                           1801 East 6th Street, Suite 300
                                           Austin, TX 78702

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                   Nathan Ochsner, Clerk of Court


Date: April 21, 2025
Date:
                                                                                          Signature
                                                                                     s/ Garrett     of Clerk or Deputy Clerk
                                                                                                 Cole
                                                                                     Signature of Clerk or Deputy Clerk
                Case 4:25-cv-01790                  Document 5        Filed on 04/21/25 in TXSD                  Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:25-cv-1790

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 4:25-cv-01790                  Document 5       Filed on 04/21/25 in TXSD              Page 5 of 8

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                   SOUTHERN    DISTRICT
                                                    _________ District       OF TEXAS
                                                                       of __________
                                                         HOUSTON DIVISION
                                                                     )
                                                                     )
                                                                     )
NRG ENERGY, INC.                                                     )
                             Plaintiff(s)                            )
                                                                     )
                                 v.                                           Civil Action No.    4:25-cv-1790
                                                                     )
                                                                     )
                                                                     )
NEXTNRG HOLDING CORP., EZFILL                                        )
HOLDINGS, INC., NEXT CHARGING LLC,                                   )
and NEXT NRG, LLC                                                    )
                             Defendant(s)
                                                     SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address)
                  NEXT CHARGING LLC
                  by and through its Registered Agent, Michael D Farkas
                  407 Lincoln Road
                  9F
                  Miami Beach, FL 33139
           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:
                                            Christopher M. Weimer
                                            Pirkey Barber PLLC
                                            1801 East 6th Street, Suite 300
                                            Austin, TX 78702

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT
                                                                                    Nathan Ochsner, Clerk of Court


 Date:April 21, 2025
Date:
                                                                                           Signature
                                                                                      s/ Garrett Coleof Clerk or Deputy Clerk
                                                                                      Signature of Clerk or Deputy Clerk
                Case 4:25-cv-01790                  Document 5        Filed on 04/21/25 in TXSD                  Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:25-cv-1790

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 4:25-cv-01790                  Document 5       Filed on 04/21/25 in TXSD             Page 7 of 8

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                    SOUTHERN    DISTRICT
                                                     _________ District       OF TEXAS
                                                                        of __________
                                                          HOUSTON DIVISION
                                                                      )
                                                                      )
                                                                      )
 NRG ENERGY, INC.                                                     )
                              Plaintiff(s)                            )
                                                                      )
                                  v.                                           Civil Action No.    4:25-cv-1790
                                                                      )
                                                                      )
                                                                      )
 NEXTNRG HOLDING CORP., EZFILL                                        )
 HOLDINGS, INC., NEXT CHARGING LLC,                                   )
 and NEXT NRG, LLC                                                    )
                             Defendant(s)
                                                      SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address)

                     NEXT NRG, LLC
                     by and through its Registered Agent, Coporate Creations Network Inc
                     801 US Highway 1
                     North Palm Beach, FL 33408

            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are:
                                             Christopher M. Weimer
                                             Pirkey Barber PLLC
                                             1801 East 6th Street, Suite 300
                                             Austin, TX 78702

         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OFOchsner,
                                                                                    Nathan COURT Clerk of Court


 Date:
Date: April 21, 2025
                                                                                            Signature
                                                                                      s/ Garrett Coleof Clerk or Deputy Clerk
                                                                                     Signature of Clerk or Deputy Clerk
                Case 4:25-cv-01790                  Document 5        Filed on 04/21/25 in TXSD                  Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:25-cv-1790

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
